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Case: 4:20-cr-00557-HEA Doc. #: 317 Filed: 10/12/21 Page: 2 of 14 PageID #: 954
Case: 4:20-cr-00557-HEA Doc. #: 317 Filed: 10/12/21 Page: 3 of 14 PageID #: 955
Case: 4:20-cr-00557-HEA Doc. #: 317 Filed: 10/12/21 Page: 4 of 14 PageID #: 956
Case: 4:20-cr-00557-HEA Doc. #: 317 Filed: 10/12/21 Page: 5 of 14 PageID #: 957
Case: 4:20-cr-00557-HEA Doc. #: 317 Filed: 10/12/21 Page: 6 of 14 PageID #: 958
Case: 4:20-cr-00557-HEA Doc. #: 317 Filed: 10/12/21 Page: 7 of 14 PageID #: 959
Case: 4:20-cr-00557-HEA Doc. #: 317 Filed: 10/12/21 Page: 8 of 14 PageID #: 960
Case: 4:20-cr-00557-HEA Doc. #: 317 Filed: 10/12/21 Page: 9 of 14 PageID #: 961
Case: 4:20-cr-00557-HEA Doc. #: 317 Filed: 10/12/21 Page: 10 of 14 PageID #: 962
Case: 4:20-cr-00557-HEA Doc. #: 317 Filed: 10/12/21 Page: 11 of 14 PageID #: 963
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  October 5, 2021                          TRACY BERRY Digitally signed by TRACY BERRY
                                                       Date: 2021.10.05 13:09:35 -05'00'
